                                         Case 21-50860-pwb                 Doc 56   Filed 09/18/24 Entered 09/18/24 10:47:39                                    Desc Main
                                                                                    Document     Page 1 of 2
                                                                                      Form 1
                                                                                                                                                                                                   Page: 1
                                                                  Individual Estate Property Record and Report
                                                                                   Asset Cases
Case No.:    21-50860-PWB                                                                                                           Trustee Name:        (300320) S. Gregory Hays
Case Name:      DORIS ROSETTA COOPER                                                                                                Date Filed (f) or Converted (c): 02/01/2021 (f)
                                                                                                                                    § 341(a) Meeting Date:       08/27/2024
For Period Ending:     09/18/2024                                                                                                   Claims Bar Date: 11/01/2021

                                                   1                                        2                              3                            4                      5                          6

                                           Asset Description                             Petition/                 Estimated Net Value           Property Formally         Sale/Funds                Asset Fully
                                (Scheduled And Unscheduled (u) Property)               Unscheduled            (Value Determined By Trustee,         Abandoned            Received by the          Administered (FA)/
                                                                                          Values                 Less Liens, Exemptions,        OA=§554(a) abandon.          Estate                Gross Value of
  Ref. #                                                                                                             and Other Costs)                                                             Remaining Assets

    1       Jeep Renegade 2020 6,200 miles                                                       27,836.00                               0.00           OA                                 0.00                        FA

    2       1 BR, LR & All Major Kitchen Appliances                                                  200.00                              0.00           OA                                 0.00                        FA

    3       2 TVs, DVD Player, Desktop, Laptop, Printer & 1 Cellphone                             1,200.00                               0.00           OA                                 0.00                        FA

    4       Clothes/Shoes/Purses                                                                  1,500.00                               0.00           OA                                 0.00                        FA

    5       Real & Costume Jewelry                                                                2,000.00                               0.00           OA                                 0.00                        FA

    6       Blood Pressure Machine                                                                    40.00                              0.00           OA                                 0.00                        FA

    7       Cash on hand                                                                               2.00                              0.00           OA                                 0.00                        FA

    8       Checking Accounts: Bank of America                                                         1.00                              0.00           OA                                 0.00                        FA

    9       Savings Accounts Bank of America                                                           0.00                              0.00                                              0.00                        FA

    10      Checking Accounts PNC Bank                                                                54.00                              0.00           OA                                 0.00                        FA

    11      Checking Accounts PNC Bank                                                                 0.00                              0.00           OA                                 0.00                        FA

    12      Savings Accounts PNC Bank                                                                  0.00                              0.00           OA                                 0.00                        FA

    13      Checking Accounts Woodforest Bank                                                          0.00                              0.00           OA                                 0.00                        FA

    14      New York Life - Whole                                                                    200.00                              0.00           OA                                 0.00                        FA

    15      Colonial Penn - Whole Life                                                                 0.00                              0.00           OA                                 0.00                        FA

    16      Personal Injury Claim                                                                Unknown                                 1.00                                              0.00                20,000.00

   16       Assets              Totals       (Excluding unknown values)                         $33,033.00                             $1.00                                           $0.00                  $20,000.00
                                    Case 21-50860-pwb              Doc 56      Filed 09/18/24 Entered 09/18/24 10:47:39                         Desc Main
                                                                               Document     Page 2 of 2
                                                                           Form 1
                                                                                                                                                                               Page: 2
                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case No.:    21-50860-PWB                                                                                              Trustee Name:      (300320) S. Gregory Hays
Case Name:     DORIS ROSETTA COOPER                                                                                    Date Filed (f) or Converted (c): 02/01/2021 (f)
                                                                                                                       § 341(a) Meeting Date:   08/27/2024
For Period Ending:   09/18/2024                                                                                        Claims Bar Date: 11/01/2021


      Major Activities Affecting Case Closing:
                                  <4/28/2024, 2:51:18 PM - ShanekaR-630>
                                  Email to Trustee attorneys to follow up with Nugent--
                                  regarding the order was entered over 2 years ago. Attorneys to provide an update within a week.
                                  <11/6/2023, 4:21:13 PM - ShanekaR-630>
                                  We have employed special counsel Ken Nugent and are still waiting for him to provide the information to file the 9019 Motion.
                                  <4/22/2023, 6:05:25 PM - ShanekaR-630>
                                  Motion to Approve Compromise will be prepared by Rountree.

                                  <10/29/2022, 2:24:21 PM - ShanekaR-630>
                                   Counsel (Rountree) and special counsel (Nugent) employed. Settlement approval motion is the next action item. The PI firm, Ken Nugent, has not been
                                  responding to communications. We follow up again today.

                                  <4/9/2022, 12:17:39 PM - ShanekaR-630>
                                  Applications to Employ Ken Nugent as Special Counsel and William Rountree as Attorney for Trustee filed and approved. Rountree will prepare 9019
                                  Motion.

                                  9/30/2021 Trustee has reached a settlement with Debtor's PI attorney for $100K. The settlement is being held in PI attorney's trust account. An
                                  application to employ special counsel and a motion to approve settlement will be filed. The bar date will expire 11/1/2021.

                                  6/30/2024 - Discussions with Ken Nugent regarding settlement in the amount of $20,000, which should be sufficient to pay claims in full.

                                  7/23/2024 - Trustee Lewis' Rejection of Appointment.

                                  9/18/2024 - Rule 9019 motion being prepared to settle for $20,000. Funds will likely be available to pay unsecured creditors in full. Upon settlement and
                                  preparation of Bankruptcy estate tax returns, Trustee will submit his Final Report.


      Initial Projected Date Of Final Report (TFR):         02/28/2022                                 Current Projected Date Of Final Report (TFR):              12/31/2024
